 Case: 2:17-mc-00023-ALM-KAJ Doc #: 8 Filed: 05/13/20 Page: 1 of 4 PAGEID #: 160




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

                                                 :
                                                 : Civil Action. 2:17-mc-23
                                                 :
                                                 : CHIEF JUDGE ALGENON L. MARBLEY
  IN RE:                                         :
                                                 : Magistrate Judge Jolson
  Kevin Brian Gunnell El                         :
                                                 :
                                                 :

                                            ORDER

       This matter comes before the Court on the Magistrate Judge’s October 17, 2019, Report

and Recommendation (ECF No. 6). Plaintiff, proceeding pro se, filed an action seeking

declaratory and injunctive relief against Franklin County Probate, Franklin County Common Pleas

Probate Court, and Franklin Country probate Clerk Robert G. Montgomery. (ECF No. 2). The

Magistrate’s Report and Recommendation recommended that Plaintiff’s case be DISMISSED

because there is no basis in law for this case to remain pending as a miscellaneous case and for

failure to pay the filing fee (ECF No. 6). This Court ADOPTS Magistrate’s Report and

Recommendation based on an independent consideration of the analysis therein. Plaintiff’s case is

hereby DISMISSED.

                                     I.      BACKGROUND

       On September 12, 2019, Plaintiff filed a complaint seeking declaratory and injunctive relief

from Franklin County Probate, Franklin County Common Pleas Probate, and Franklin County

Probate Clerk Robert G. Montgomery. (ECF No. 2 at 2). Plaintiff’s Complaint seeks to claim rights

in gold taken from “the people” in 1933. (Id. at 3). Plaintiff also claims County Probate Clerk
 Case: 2:17-mc-00023-ALM-KAJ Doc #: 8 Filed: 05/13/20 Page: 2 of 4 PAGEID #: 161




Robert G. Montgomery committed “fraud and deceit” because he refused “to recognize” Plaintiff’s

“Moorish nationality.” (Id. at 13).

   On September 27, 2019, Judge Jolson ordered Plaintiff to show good cause within fourteen

days for why his action should remain as a miscellaneous action and why he should not be charged

the full civil filing fee of $400, or in the alternative, be required to file a motion to proceed in

forma pauperis. (ECF No. 4). Plaintiff filed his response to the Show Cause Order on October 15,

2019. (ECF No. 5). In his response, Plaintiff contends good cause was shown because “the Pope’s

laws are obligatory on this tribunal.” (ECF No. 5 at 2). Thereafter, Judge Jolson issued a report

recommending that that this case be dismissed because there is no basis in law for this case to

remain pending as a miscellaneous case, and Plaintiff failed to pay the filing fee or submit an in

forma pauperis application. (ECF. No 6 at 3). Plaintiff timely filed an objection to the Report and

Recommendation. (ECF No. 7).

                               II.     STANDARD OF REVIEW

       When objections to a Magistrate Judge’s report and recommendation are received on a

dispositive matter, the assigned district judge “must determine de novo any part of the Magistrate

Judge’s disposition that has been properly objected to.” Fed. R. Civ. P. 72(b)(3); see also 28 U.S.C.

§ 636(b)(1)(C). After review, the district judge “may accept, reject, or modify the recommended

disposition; receive further evidence; or return the matter to the Magistrate Judge with

instructions.” Fed. R. Civ. P. 72(b)(3); see also 28 U.S.C. § 636(b)(1)(C). Because Defendant has

filed objections to the Report and Recommendation, the Court reviews the recommended

disposition de novo.


       The Court holds pro se complaints “‘to less stringent standards than formal pleadings

drafted by lawyers.’” Garrett v. Belmont Cnty. Sheriff’s Dep’t., 374 F. App’x 612, 614 (6th Cir.


                                                 2
 Case: 2:17-mc-00023-ALM-KAJ Doc #: 8 Filed: 05/13/20 Page: 3 of 4 PAGEID #: 162




2010) (quoting Haines v. Kerner, 404 U.S. 519, 520 (1972)). While the standard for construing

pro se complaints is a liberal one, the complaint still must state a claim such that “‘courts should

not have to guess at the nature of the claim asserted.’” Frengler v. General Motors, 482 F. App’x

975, 976-77 (6th Cir. 2012) (quoting Wells v. Brown, 891 F. 2d 591, 594 (6th Cir. 1989)). A pro

se pleading must still “provide the opposing party with notice of the relief sought, and it is not

within the purview of the district court to conjure up claims never presented.” Id. at 977.


                                   III.   LAW AND ANALYSIS

       Plaintiff’s Objection first contends he is not proceeding pro se because he has a “Power of

Attorney document attached with a UCC Financing Statement Amendment.” (ECF No. 7 at 1).

Plaintiff misunderstands what it means to proceed pro se. A litigant is “pro se” when he proceeds

“on [his] own behalf” without an attorney. Plaintiff is a pro se litigant in this matter because he

has not retained counsel. Abdullah v. New Jersey, No. CIV.A. 12-4202 RBK, 2012 WL 2916738,

at *7 (D.N.J. July 16, 2012).

       Next, Plaintiff’s Objection appears to contend that the Pope’s civil orders, the UCC, Roman

Canon Law, and Talmudic Law are binding on this action as “superior bodies of law.” (ECF No.

7 at 2-7). As Judge Jolson noted, these contentions resemble those of the “sovereign citizens…who

believe that the state and federal governments lack constitutional legitimacy and therefore have no

authority to regulate their behavior.” Baird v. Ammiyhuwd, No. 1:16-CV-1152, 2017 WL 430772,

at *2 (S.D. Ohio Jan. 31, 2017), report and recommendation adopted, No. 1:16CV01152, 2018

WL 3524465 (S.D. Ohio July 23, 2018) (internal citations omitted). The notion that a person is not

subject to the laws of the United States is routinely rejected for “lacking any foundation in law”

Id. Moreover, no matter how Plaintiff wants to “classify his argument… he is subject to the laws

of the United States.” United States v. Leugers, No. 1:16CV614, 2017 WL 393092, at *1 (S.D.


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 Case: 2:17-mc-00023-ALM-KAJ Doc #: 8 Filed: 05/13/20 Page: 4 of 4 PAGEID #: 163




Ohio Jan. 30, 2017). Thus, this Court determines that Plaintiff has failed to show good cause for

maintaining this action as a miscellaneous matter.

       Instead of paying the filing fee or an in forma pauperis application, Plaintiff requests this

Court “to take judicial notice” of an indemnity agreement and various other UCC documents he

has attached to a filed financing statement. (ECF No. 7 at 10-11). The applicable law here requires

Plaintiff to either pay the filing fee required by 28 U.S.C. § 1914(a) or submit an in forma pauperis

application with accompanying financial information, 28 U.S.C. § 1915(a); see also Truitt v. Cty.

of Wayne, 148 F.3d 644, 648 (6th Cir. 1998). Further, similar attempts to evade paying the filing

fee or submit an in forma pauperis application by submitting UCC documents have been rejected.

See Baird, 2017 WL 430772, at *3 (S.D. Ohio Jan. 31, 2017), report and recommendation

adopted, 2018 WL 3524465 (S.D. Ohio July 23, 2018) (“In lieu of proper in forma

pauperis applications, defendants submit a document entitled “Promissory Note” in the amount of

$300,000.00 issued from the “Indiana Republic USA”). Accordingly, Plaintiff’s UCC documents

are not sufficient to satisfy the requirement that he pay the filing fee or submit an in forma pauperis

application with accompanying financial information.

       For the above stated reasons, Plaintiff’s objections to the Magistrate Judge’s report are

OVERRULED. This Court hereby ADOPTS the Report and Recommendation based on the

independent consideration of the analysis therein. It is hereby Ordered that this case be

DISMISSED.

       IT IS SO ORDERED.


                                               ALGENON L. MARBLEY
                                               CHIEF UNITED STATES DISTRICT JUDGE
DATED: May 13, 2020



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